        Case 21-10665-JCM                       Doc 76        Filed 01/02/25 Entered 01/02/25 14:48:33                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              DONALD F. CHECK


     Debtor 2              LINDA LEE CHECK
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          21-10665JCM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 MIDFIRST BANK                                                                     5

 Last 4 digits of any number you use to identify the debtor's account                         1   5   5   7

 Property Address:                             7892 FRANKLIN PIKE
                                               MEADVILLE PA 16335




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        115.03

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        115.03

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        115.03



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $      $1,181.76
         The next postpetition payment is due on                 2 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                         page 1
    Case 21-10665-JCM                Doc 76    Filed 01/02/25 Entered 01/02/25 14:48:33                            Desc Main
                                               Document Page 2 of 4



Debtor 1     DONALD F. CHECK                                                  Case number (if known) 21-10665JCM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     01/02/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
    Case 21-10665-JCM           Doc 76   Filed 01/02/25 Entered 01/02/25 14:48:33                             Desc Main
                                         Document Page 3 of 4



Debtor 1     DONALD F. CHECK                                             Case number (if known) 21-10665JCM
             Name




                                              Disbursement History

Date         Check #    Name                                   Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
11/27/2023   1285296    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         37.87
12/21/2023   1287886    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         31.33
01/26/2024   1290565    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         30.95
02/26/2024   1293230    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         14.88
                                                                                                                    115.03

MORTGAGE REGULAR PAYMENT (Part 3)
02/23/2022   1226725    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       2,159.65
03/25/2022   1229733    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,147.23
04/26/2022   1232769    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,185.84
05/25/2022   1235802    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,207.89
06/27/2022   1238830    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,220.23
07/26/2022   1241752    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,227.00
08/24/2022   1244622    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,230.62
09/27/2022   1247509    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,232.51
10/25/2022   1250290    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,208.08
11/23/2022   1253106    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,208.54
12/22/2022   1255836    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,212.28
01/26/2023   1258552    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,214.02
02/23/2023   1261109    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,214.80
03/28/2023   1263936    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,215.15
04/25/2023   1266727    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,247.17
05/25/2023   1269613    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,296.97
06/26/2023   1272494    WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                       1,303.68
07/25/2023   1274386    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,312.10
08/25/2023   1277157    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,315.52
09/26/2023   1279910    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,315.50
10/25/2023   1282618    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,286.95
11/27/2023   1285296    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,178.87
12/21/2023   1287886    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,178.87
01/26/2024   1290565    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
02/26/2024   1293230    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
03/26/2024   1295875    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
04/25/2024   1298525    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
05/29/2024   1301235    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
06/25/2024   1303773    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
07/25/2024   1306370    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
08/26/2024   1308948    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
09/25/2024   1311538    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
10/25/2024   1314060    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
11/25/2024   1316627    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
12/23/2024   1319031    MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,181.76
                                                                                                                  43,500.59




Form 4100N                                    Notice of Final Cure Payment                                           page 3
   Case 21-10665-JCM           Doc 76     Filed 01/02/25 Entered 01/02/25 14:48:33                 Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 4 of 4
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

DONALD F. CHECK
LINDA LEE CHECK
7858 FRANKLIN PIKE
MEADVILLE, PA 16335

DANIEL P FOSTER ESQ**
FOSTER LAW OFFICES
1210 PARK AVE
MEADVILLE, PA 16335

MIDFIRST BANK
999 NW GRAND BLVD #110
OKLAHOMA CITY, OK 73118-6077

ALDRIDGE PITE LLC
8880 RIO SAN DIEGO DR STE 725
SAN DIEGO, CA 92108




1/2/25                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
